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               Exhibit 5
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 1                 UNITED STATES DISTRICT COURT

 2                 CENTRAL DISTRICT OF ILLINOIS

 3                    SPRINGFIELD DIVISION

 4

 5   LACIE DAVIS, individually and on )
     behalf of all others similarly   )
 6   situated,                        )
                                      )
 7             Plaintiff,             ) No.
                                      ) 3:22-cv-03071-
 8       vs.                          ) CLR-KLM
                                      )
 9   RICOLA USA, INC.,                )
                                      )
10             Defendant.             )
     _________________________________)
11

12

13

14                   Remote videotaped deposition of

15              ANDREA LYNN MATTHEWS, Ph.D., taken on

16              behalf of the Defendant, commencing

17              at 9:31 a.m. on Monday,

18              August 28, 2023, before DEBORAH L.

19              LUNDGREN, CSR No. 6727, a Certified

20              Shorthand Reporter in and for the

21              State of California.

22

23

24

25


                         Abrams, Mah & Kahn                             1
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 1   APPEARANCES:

 2

 3   FOR THE PLAINTIFF:

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20
     ALSO PRESENT:
21
         DONALD PARRIOTT
22       BILL HIGGINS

23
     VIDEOGRAPHER:
24
         GIGI FADICH
25


                          Abrams, Mah & Kahn                            2
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 1                          I N D E X

 2

 3   EXAMINATION BY:                                             PAGE

 4     MS. HENRY                                                        5

 5

 6                       E X H I B I T S

 7                                                               PAGE

 8     Exhibit 1     Deposition notice (6 pages)                    12

 9     Exhibit 2     Notice of intent to serve                      14
                     document subpoena to
10                   Dr. Andrea Lynn Matthews
                     (10 pages)
11
       Exhibit 3     Email string re deposition                     14
12                   notice and subpoena for
                     Dr. Matthews (3 pages)
13
       Exhibit 4     Dr. Matthews' report                           19
14                   (100 pages)

15     Exhibit 5     6-23-23 Email attaching Excel                  20
                     spreadsheet (1 page)
16
       Exhibit 5A    Excel spreadsheet of backup                    22
17                   data (retained)

18     Exhibit 6     9-17-22 Email to Dr. Matthews                 142
                     from Mr. Sheehan (2 pages)
19
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       Exhibit 9     Photo of Ricola packaging,                    150
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                         Abrams, Mah & Kahn                                 3
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 1        Remote Deposition; Monday, August 28, 2023

 2                          9:31 a.m.

 3                                                                          09:30:40

 4              THE VIDEOGRAPHER:      Good morning.       This is          09:30:40

 5   the remote deposition of Dr. Andrea Lynn Matthews                      09:31:19

 6   taken on Monday, August 28, 2023, in the matter of                     09:31:24

 7   Lacie Davis, et al., versus Ricola USA,                                09:31:29

 8   Incorporated, Case No. 3:22-cv-03071 initials                          09:31:33

 9   CLR-KLM.                                                               09:31:40

10              This case is being heard in the United                      09:31:43

11   States District Court for the Central District of                      09:31:47

12   Illinois, Springfield Division.                                        09:31:49

13              This deposition is on behalf of the                         09:31:52

14   defendant.    My name is Gigi Fadich, legal                            09:31:54

15   videographer, contracted through Dean Jones Legal                      09:31:58

16   Videos, Incorporated, of Los Angeles and Santa Ana,                    09:32:02

17   California.                                                            09:32:04

18              Because we are not in person, I will have                   09:32:04

19   to interrupt proceedings if the deponent drifts out                    09:32:06

20   of frame or should there be any connectivity issues.                   09:32:09

21              This deposition is commencing at 9:32 a.m.                  09:32:10

22   Pacific time.                                                          09:32:15

23              Would all present please identify                           09:32:16

24   themselves beginning with the deponent.                                09:32:19

25              THE WITNESS:   My name is Andrea Lynn                       09:32:21


                         Abrams, Mah & Kahn                             4
        3:22-cv-03071-CRL-KLM # 36-5   Filed: 11/17/23    Page 6 of 19


 1   Matthews, Ph.D.                                                         09:32:24

 2             MS. HENRY:   I'm Sascha Henry.            I'm counsel         09:32:28

 3   for Ricola USA, and I will be taking the deposition.                    09:32:34

 4   Also present with me is Khirin Bunker and Bill                          09:32:38

 5   Higgins of Ricola.     Khirin is an attorney with my                    09:32:41

 6   law firm.                                                               09:32:45

 7             MR. SHEEHAN:    My name is Spencer Sheehan,                   09:32:46

 8   attorney for the plaintiff here.                                        09:32:49

 9             THE VIDEOGRAPHER:       Would the court reporter              09:32:55

10   please administer the oath.                                             09:33:00

11             THE REPORTER:    Please raise your right                      09:33:00

12   hand, Dr. Matthews.                                                     09:33:00

13             Do you declare under penalty of perjury to                    09:33:00

14   tell the truth, the whole truth, and nothing but the                    09:33:00

15   truth?                                                                  09:33:11

16             THE WITNESS:    I do.                                         09:33:11

17                                                                           09:33:11

18                          EXAMINATION                                      09:33:11

19   BY MS. HENRY:                                                           09:33:11

20       Q     Dr. Matthews, thank you for appearing here                    09:33:16

21   today.   I wanted to take your deposition in person,                    09:33:19

22   but I understand that you're on maternity leave, and                    09:33:22

23   so asked that it be -- you asked that it be remote;                     09:33:26

24   is that correct?                                                        09:33:30

25       A     That is correct.    And I appreciate it.                      09:33:30


                          Abrams, Mah & Kahn                             5
        3:22-cv-03071-CRL-KLM # 36-5   Filed: 11/17/23   Page 7 of 19


 1   the one statement that best reflects their answer.                      11:30:42

 2             It does not make sense for a respondent,                      11:30:51

 3   for instance, to say that benefits come only from                       11:30:54

 4   herbs and only from menthol.       That does not make                   11:30:58

 5   sense.                                                                  11:31:03

 6       Q     Why is that?                                                  11:31:04

 7       A     Because they do not overlap.          You cannot              11:31:05

 8   have things that only come from more than one                           11:31:09

 9   source.                                                                 11:31:13

10       Q     Okay.   So in this -- in this sentence here                   11:31:15

11   on the top of page 34, you say "mutually exclusive                      11:31:23

12   options means that answer categories do not overlap.                    11:31:27

13   Only one answer can be logically chosen, e.g., X and                    11:31:32

14   not X are mutually exclusive."                                          11:31:37

15             So to put it differently, if you're only                      11:31:40

16   giving a survey respondent an opportunity to provide                    11:31:46

17   one answer, there can't be overlap in those answers                     11:31:49

18   because then what happens?                                              11:31:54

19       A     Exactly.   Because then respondents don't                     11:31:57

20   know which button to push because more than one                         11:32:01

21   button could accurately reflect their answer.                           11:32:05

22       Q     So if you're using closed-ended questions                     11:32:08

23   with -- where only one -- where the respondents can                     11:32:14

24   only answer with one selection, for the results to                      11:32:17

25   be valid, the options have to be mutually exclusive;                    11:32:24


                          Abrams, Mah & Kahn                            68
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 1   correct?                                                                11:32:29

 2       A      Correct.                                                     11:32:29

 3       Q      Okay.    We were looking at the subject of                   11:32:30

 4   your report.      And paragraph 16 is sort of where we                  11:32:53

 5   left off, where we were talking about -- I asked you                    11:33:00

 6   who had tasked you with testing the extent to which                     11:33:06

 7   consumer confusion exists regarding the source of                       11:33:09

 8   medicinal benefits, and for that task, just to be                       11:33:14

 9   clear, that -- for that to be valid, you had to have                    11:33:18

10   mutually exclusive answers in the -- in the                             11:33:23

11   questions relevant to that task; correct?                               11:33:27

12       A      Yes.                                                         11:33:30

13       Q      Okay.    Paragraph 17 says, "We tested                       11:33:31

14   whether the presence or absence of the qualifying                       11:33:36

15   term 4.8 mg of menthol per drop changed consumer                        11:33:40

16   expectations regarding the source of the medicinal                      11:33:47

17   benefits for the product."        Why did you do that?                  11:33:50

18       A      It is best practice, when conducting a                       11:33:58

19   survey experiment, to assess consumer confusion or                      11:34:03

20   deception, to present a control condition, as well                      11:34:07

21   as an experimental condition, to be able to identify                    11:34:14

22   and isolate out the impact of a particular claim                        11:34:20

23   that is supposedly deceptive or confusing.                              11:34:24

24              Therefore, we created an edited condition                    11:34:29

25   of the label to identify the "but for" amount of                        11:34:36


                           Abrams, Mah & Kahn                           69
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 1   of the target population.                                                01:34:50

 2            We did not find, for instance, that less                        01:34:52

 3   than 10 percent of the population would prefer                           01:34:55

 4   herbal ingredients.                                                      01:34:58

 5       Q    Well, you did forced choice here; right?                        01:35:02

 6       A    Yes.                                                            01:35:07

 7       Q    The only analysis that you did was you only                     01:35:07

 8   looked at those people who would either pick herbal                      01:35:11

 9   only or menthol; right?                                                  01:35:15

10       A    We gave people a choice between herbal only                     01:35:16

11   and menthol only, that is correct.                                       01:35:19

12       Q    And it's pretty close to a coin toss                            01:35:21

13   whether they picked herbal only versus menthol;                          01:35:24

14   right?                                                                   01:35:28

15       A    One could look and say that upper bounds of                     01:35:30

16   the 95 percent confidence interval, over 60 percent                      01:35:34

17   say it's probably a bit more than a coin toss.                           01:35:37

18            Then when you look at the people who had                        01:35:39

19   previously purchased the brand being over 60 percent                     01:35:41

20   up to 75 percent say that's substantially more than                      01:35:43

21   a coin toss.                                                             01:35:47

22       Q    Now, you talked about the reason that you                       01:35:49

23   dropped the 25 intervals in paragraph 65 was because                     01:35:51

24   they were not part of your target market.                                01:35:55

25            Did those 190 respondents not identify                          01:35:58


                         Abrams, Mah & Kahn                             105
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 1       A     I would be able to, but I would likely be                       02:30:33

 2   assisted by Dr. Will Ingersoll.                                           02:30:36

 3       Q     Paragraph 168 talks about "Conjoint                             02:30:41

 4   analysis is a standard practice in marketing                              02:30:53

 5   research for identifying the unique impact of one                         02:30:56

 6   product factor, such as size, price, color, or other                      02:30:59

 7   attribute of a product, on willingness to purchase                        02:31:03

 8   this item."                                                               02:31:06

 9             Have you done any studies to analyze the                        02:31:13

10   consumers or this survey's respondents' willingness                       02:31:16

11   to purchase Ricola products?                                              02:31:21

12       A     No.                                                             02:31:24

13       Q     Have you done any analysis to identify the                      02:31:26

14   product factors and how -- which ones are more                            02:31:34

15   important than others to the consumer?                                    02:31:39

16       A     Not other than the materiality component                        02:31:42

17   that we have previously discussed.                                        02:31:45

18       Q     In your materiality component that we                           02:31:51

19   previously discussed, you did not compare -- do a                         02:31:53

20   comparison of other product features?                                     02:31:59

21       A     That is correct.                                                02:32:01

22       Q     Okay.   So just to be clear, your                               02:32:03

23   materiality analysis, so that we don't have any                           02:32:05

24   ambiguity, just asked the consumer to tell you                            02:32:09

25   whether they preferred a product that was herbal                          02:32:12


                          Abrams, Mah & Kahn                             135
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 1   ingredients only or menthol only; correct?                                 02:32:15

 2       A     That is correct.        So it was comparing                      02:32:18

 3   herbal only to menthol only, but did not compare                           02:32:20

 4   that attribute to other attributes.                                        02:32:24

 5       Q     And so for -- just to bring this to                              02:32:26

 6   paragraph 168, the materiality analysis that you've                        02:32:30

 7   done thus far doesn't compare herbal only                                  02:32:33

 8   ingredients or menthol only ingredients to things                          02:32:40

 9   such as size, price, color, flavor?                                        02:32:45

10       A     That is accurate.                                                02:32:48

11       Q     It doesn't analyze past experience with                          02:32:49

12   product or brand strength either; correct?                                 02:32:54

13       A     Correct.                                                         02:32:57

14       Q     In paragraph 169, you described how                              02:32:59

15   consumers are presented with whether they're asked                         02:33:17

16   to choose between a small number of hypothetical                           02:33:22

17   products and indicate which they would purchase, or                        02:33:25

18   whether they would not purchase any of these                               02:33:28

19   products.                                                                  02:33:30

20             As of now, you haven't identified what                           02:33:31

21   those hypothetical products would be that you would                        02:33:34

22   use for a price premium analysis; correct?                                 02:33:36

23       A     Not at that point in the report.             We state            02:33:40

24   that in paragraph 180.                                                     02:33:49

25       Q     I see.   So in paragraph 180, if you were to                     02:33:52


                          Abrams, Mah & Kahn                              136
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 1   that has value to consumers, then including that in                       02:39:21

 2   a regression as a predictor variable could then be                        02:39:24

 3   associated.     We could observe how much of the price                    02:39:29

 4   is captured or explained by that particular factor                        02:39:31

 5   while holding constant controlling for all other                          02:39:36

 6   factors that go into the price, such as brand,                            02:39:39

 7   flavor, et cetera, so we can capture out the amount                       02:39:44

 8   of the price that is due to that relevant attribute.                      02:39:47

 9       Q     Okay.    So in this sentence you talk about                     02:39:54

10   an estimate for a characteristic of not being marked                      02:40:01

11   4.8 percent -- pardon me -- 4.8 milligrams of                             02:40:05

12   menthol per job will give us a value of how much                          02:40:09

13   more a product was marked up compared to a similar                        02:40:12

14   product without this characteristic.                                      02:40:15

15             Are you expecting that having the                               02:40:18

16   4.8 milligrams of menthol per drop will be -- have a                      02:40:22

17   lower value than a product that doesn't have that on                      02:40:30

18   the front?                                                                02:40:32

19       A     That is the assumption that we were given                       02:40:33

20   in the complaint, that the product had a higher --                        02:40:35

21   was sold at a higher price because it did not                             02:40:40

22   include that statement.                                                   02:40:42

23       Q     Have you done anything to determine whether                     02:40:44

24   that's true or not?                                                       02:40:46

25       A     No.                                                             02:40:47


                          Abrams, Mah & Kahn                             140
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 1       Q      So at this point you have no opinion one                       02:40:48

 2   way or another as to whether there is a price                             02:40:52

 3   premium on the Ricola original herb cough drop;                           02:40:55

 4   right?                                                                    02:41:00

 5       A      Not due to that particular attribute.             I am         02:41:01

 6   highly confident that Ricola, as a brand, has a                           02:41:09

 7   price markup due to generic brands.                                       02:41:14

 8       Q      Because of the strength of its brand name?                     02:41:18

 9       A      Yes.                                                           02:41:22

10       Q      But not because of the absence of                              02:41:22

11   4.8 milligrams on the front of the label; correct?                        02:41:25

12       A      Correct.                                                       02:41:28

13       Q      All right.   At the bottom of this page it                     02:41:30

14   says it's executed on June 12, 2023.           Did you                    02:41:34

15   execute it on that date?                                                  02:41:38

16       A      That is a legal question.        I submitted my                02:41:40

17   report to Mr. Sheehan's office in April.             That may             02:41:49

18   have been the date that I was sent a DocuSign to                          02:41:53

19   sign, but I am not sure what the "executed on" --                         02:41:56

20   whether that is what the "executed on" language                           02:42:03

21   means.                                                                    02:42:07

22       Q      Okay.   When did you do the DocuSign?                          02:42:07

23       A      I would have to look in my records and see                     02:42:10

24   on what date I received it.       It was probably                         02:42:12

25   June 12.                                                                  02:42:16


                           Abrams, Mah & Kahn                            141
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 1       Q      Have you ever used --                                          03:12:52

 2       A      Well, let me rephrase.                                         03:12:57

 3              Is -- I think honey might count as an                          03:12:59

 4   active ingredient possibly.       And I have used ones                    03:13:01

 5   that included honey.                                                      03:13:06

 6       Q      Have you used any that used camphor?                           03:13:08

 7       A      Not that I remember.                                           03:13:23

 8       Q      Did you consider using -- adding camphor as                    03:13:26

 9   one of the possible sources of the oral anesthetic                        03:13:31

10   and cough suppressant benefits?                                           03:13:37

11       A      No, I did not consider it.                                     03:13:40

12       Q      Why not?                                                       03:13:41

13       A      It was not something that was relevant to                      03:13:43

14   our analysis of herbal only versus not herbal only.                       03:13:48

15       Q      Okay.   So your analysis that you were                         03:13:54

16   tasked with was to compare herbal only versus                             03:13:58

17   menthol only, not herbal only versus anything else                        03:14:04

18   that could be the active ingredient; is that                              03:14:09

19   correct?                                                                  03:14:13

20       A      Our analysis for materiality was to assess                     03:14:13

21   preferences for herbal only versus menthol only.                          03:14:21

22   That was represented to us as the nature of the                           03:14:24

23   complaint.                                                                03:14:26

24              Our task in the preferences and -- sorry.                      03:14:27

25   Our task in the perception/deception component was                        03:14:30


                           Abrams, Mah & Kahn                            154
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 1   respondents to zoom in on.                                                03:19:20

 2       Q     Okay.    And do you know whether any were                       03:19:22

 3   able to see those names of the herbs?                                     03:19:26

 4       A     The entire package as shown was the                             03:19:30

 5   stimulus that was given to respondents.                                   03:19:35

 6       Q     You mean just the front label?                                  03:19:38

 7       A     Yes.                                                            03:19:40

 8       Q     Okay.    And did you ever consider adding, as                   03:19:41

 9   a closed-choice option, lemon balm as one of the                          03:19:46

10   sources of the medicinal benefits of the original                         03:19:52

11   herb cough drops?                                                         03:19:57

12       A     No.    I believe that would fall under the                      03:19:59

13   herbal-ingredients-only category.                                         03:20:01

14       Q     So it was unnecessary to do it since lemon                      03:20:04

15   balm is an herb?                                                          03:20:09

16       A     I -- yes.                                                       03:20:10

17             MS. HENRY:    All right.      I have no further                 03:20:29

18   questions.                                                                03:20:30

19             Thank you so much for your time today,                          03:20:31

20   Dr. Matthews.     I really appreciate it, and I                           03:20:33

21   particularly appreciate you taking the time on your                       03:20:36

22   maternity leave.     I wish you the best.                                 03:20:39

23             THE WITNESS:    Thank you very much.                            03:20:42

24             MR. SHEEHAN:    I have no questions for                         03:20:44

25   Dr. Matthews.     Let's go off.                                           03:20:47


                           Abrams, Mah & Kahn                            158
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 1             THE REPORTER:    Off the record?                                03:20:48

 2             MS. HENRY:    We're off the record.                             03:20:51

 3             THE VIDEOGRAPHER:       Video deposition off the                03:20:53

 4   record at 3:20 p.m.                                                       03:20:55

 5             Deposition concluded on August 28, 2023.                        03:20:58

 6   Conclusion of media one of one used in today's                            03:21:02

 7   deposition.   Thank you.                                                  03:21:05

 8             (Ending time:    3:20 p.m.)

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                          Abrams, Mah & Kahn                             159
        3:22-cv-03071-CRL-KLM # 36-5   Filed: 11/17/23   Page 17 of 19


 1                    WITNESS'S CERTIFICATE

 2

 3

 4

 5             I am the witness in the foregoing

 6   deposition.   I have read the foregoing deposition

 7   and having made such changes and corrections as I

 8   desire, I certify that the same is true of my own

 9   knowledge, except as to those matters which are

10   therein stated upon my information or belief, and as

11   to those matters, I believe it to be true.

12             I declare under penalty of perjury under

13   the laws of the State of California that the

14   foregoing is true and correct.

15             Executed on ______________________________,

16   at ________________________________________________.

17

18

19

20
                               ___________________________
21                             ANDREA LYNN MATTHEWS, Ph.D.

22

23

24

25


                          Abrams, Mah & Kahn                             160
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 1                   REPORTER'S CERTIFICATE

 2

 3             I, DEBORAH L. LUNDGREN, CSR No. 6727, RPR,

 4   a certified shorthand reporter in and for the State

 5   of California, do hereby certify:

 6             That prior to being examined, the witness

 7   named in the foregoing proceedings declared under

 8   penalty of perjury to testify to the truth, the

 9   whole truth, and nothing but the truth;

10             That said proceedings were taken by me in

11   shorthand at the time and place herein named and was

12   thereafter transcribed into typewriting under my

13   direction, said transcript being a true and correct

14   transcription of my shorthand notes.

15             Pursuant to Federal Rule 30(e), transcript

16   review was not requested;

17             I further certify that I have no interest

18   in the outcome of this action.

19

20   Dated:   September 7, 2023

21

22

23                             ________________________
                               DEBORAH L. LUNDGREN
24                             CSR NO. 6727, RPR

25


                          Abrams, Mah & Kahn                             161
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